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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                MIDLAND-ODESSA DIVISION

UNITED STATES OF AMERICA,                         §
                                                  §
                       Plaintiff,                 §
                                                  §
V.                                                § CRIMINAL NO. MO-25-CR-035 DC
                                                  §
(1 ) ENRIQUE SALAZAR, and                         §
(2 ) ALEX MANUEL,                                 §
                                                  §
                       Defendants.                §

                         UNITED STATES OF AMERICA'S
              BILL OF PARTICULARS FOR FORFEITURE OF PROPERTY

       Comes now the United States of America, by and through the United States Attorney for

the Western District of Texas and the undersigned Assistant United States Attorney, and files this

Bill of Particulars for Forfeiture of Property.

       On August 28, 2024, a Superseding Indictment (Doc. 26) was returned against Defendants

ENRIQUE SALAZAR and ALEX MANUEL for the violation of Title 18 U.S.C. §§ 933 and

922(a)(6). The Superseding Indictment included a Notice of United States of America’s Demand

for Forfeiture which gave notice that the United States seeks the criminal forfeiture of property

pursuant to Title 18 U.S.C. § 924(a)(1)(B) and 924(d)(1), made applicable to criminal forfeiture

by Title 28 U.S.C. § 2461(c). Specifically, this Bill of Particulars seeks the criminal forfeiture of

the property listed herein.

       The United States hereby gives notice that it seeks the criminal forfeiture of certain

property from Defendant, as follows:
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        NOTICE OF UNITED STATES OF AMERICA’S DEMAND FOR FORFEITURE
                                    [See Fed. R. Crim. P. 32.2]
                                              I.
                         Firearm Violations and Forfeiture Statutes
  [Title 18 U.S.C. §§ 933 and 922(a)(6), subject to forfeiture pursuant to Title 18 U.S.C. §
  934(a)(1)(A)] and 924(d)(1), made applicable to criminal forfeiture by Title 28 U.S.C. §
                                           2461(c)]

       As a result of the criminal violations set forth in Counts One through Four of the

Superseding Indictment, the United States of America gives notice to the Defendants of its intent

to seek the forfeiture of the property described below upon conviction pursuant to Fed. R. Crim.

P. 32.2 and 18 U.S.C. § 934(a)(1)(A), which states:

       Title 18 U.S.C. § 934. Penalties
       (a)(1) Any person convicted of a violation of 932 or 933 shall forfeit to the United States,
       irrespective of any provision of State law - -
               (A) Any property constituting or derived from, any proceeds the persona obtained,
               directly or indirectly as the result of such violation . . .

       Title 18 U.S.C. § 924. Penalties
       (d)(1) Any firearm or ammunition involved in or used in any knowing violation . . . of
       . . . section 922 . . . or knowing violation of section 924 . . . shall be subject to seizure
       and forfeiture . . .

       This Notice of Demand for Forfeiture includes but is not limited to the property described

in Paragraph II.

                                                 II.
                                              Property

       •   Big Kahuna Industries Raptor 50 receiver/frame caliber 50 SN: 230151
       •   $16,591.00,more or less in United States Currency
       •   57 Rounds Assorted caliber Ammunition
       •   306 Rounds Assorted caliber Ammunition
       •   Connecticut Shotgun Manufacturing Co., Revelation Shotgun 20 Caliber, SN: None
       •   Panzer Arms AR Twelve Shotgun Multi-Caliber, SN: 40H22YD005293
       •   2A Armament, LLC Xanthos-Lite Rifle, 308 Caliber SN: BT01663
       •   Remington Arms Company, Inc. 760 Rifle 30-06 Caliber, SN: 7277418
       •   Huglu Cooperative Canvasback Shotgun 12 Caliber, SN: 09S3338
       •   Ruger American Rifle 65 Caliber SN: 690144668
       •   Remington Arms Company Inc., 700 Rifle, 300 Caliber, SN: RR4452A
       •   Benelli, S. Pa Super Black Egale II Shotgun, 12 Caliber SN: U634343J20

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•   Ruger 10/22 Rifle,22 Caliber, SN: 000608018
•   Diker Scout Receiver/Frame 65 Caliber, SN: 610608296423
•   Ruger American Rifle, 243 Caliber, SN: 69124142
•   Marlin Firearms Co., 336 Rifle, 30-30 Caliber, SN: 19003703
•   New England Firearms Pardner Shotgun, 410 Calber, SN: NM250732
•   Winchester 190 Rifle 22 Caliber, SN: B1562043
•   Ruger 10/22 Rifle 22 Caliber, SN: 001547920
•   Unknown Unknown Rifle 8 Caliber, SN: None
•   Unknown Unknown Rifle, 50 Caliber, BEOWULF, SN: None
•   Bear Creek Arsenal BCA10 Rifle, 308 Caliber, SN: F023465
•   Essential Arms, Inc., J15-F Rifle, 223 Caliber, SN: 3312
•   Colt Canada AR-15A2 Gov Carbine Rifle, 556 Caliber, SN: GC020997
•   Ruger Mini 14 Rifle, 223 Caliber, SN: 18026596
•   Walther Colt Government Pistol, 22 Caliber, SN: WD036768
•   Harrington and Richardson Sportsman 999 Revolver 22 Calber, SN: Obliterated
•   Unknown Unknown Derringer, 22 Caliber, SN: None
•   Unknown Unknown Rifle, 556 Caliber, SN: None
•   Unknown Unknown Rifle, 556 Caliber, SN: None
•   Unknown Unknown Rifle, 556 Caliber, SN: None
•   Ruger Security-9 Pistol, 9 Caliber, SN: 38335140
•   Glock Inc., 43X Pistol, 9 Caliber, SN: BVMD475
•   Glock GMBH P80 Pistol, 9 Caliber, SN: BPVS821
•   CZ USA CZ P-10 C Pistol, 9 Caliber, SN: C799266
•   Unknown Unknown Rifle, 556 Caliber, SN: None
•   Unknown Unknown Rifle, 556 Caliber, SN: None
•   Unknown Unknown Rifle, 223 Caliber, SN: None
•   F.N. (FN Herstal) Scar 17S Rifle, 762 Caliber, SN: H1C23881
•   Palmetto State Armory PX9 Pistol, 9 Caliber, SN: X9045067
•   Taurus PT111 Millennium G2 Pistol, 9 Caliber, SN: TIT07418
•   Sig Sauer (Sig-Arms) P238 Pistol, 380 Caliber, SN: 27F015581
•   Taurus G2S Pistol, 9 Caliber, SN: TLU38184
•   Taurus PT845 Pistol, 45 Caliber, SN: NFT67286
•   Any and all firearms, ammunition, and/or accessories involved in the commission of
    the criminal offense.




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                                                            Respectfully submitted,

                                                            MARGARET F. LEACHMAN
                                                            Acting, United States Attorney

                                                    By:     /S/                         _______
                                                            MARK TINDALL
                                                            Assistant United States Attorney
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                               CERTIFICATE OF SERVICE

       I hereby certify that on April 14, 2025, the foregoing instrument was electronically filed

with the Clerk of the Court using the CM/ECF System which will transmit notification of such

filing to the following CM/ECF participant:

       Aaron Eugene Edman
       Email: aaron@eckmanlawfirm.com
       Attorney for Defendant Enrique Salazar (1)

       Jeffrey Parras
       Email: jparras@parraslaw.net
       Attorney for Defendant Alex Manuel (2)



                                                            /S/______________
                                                            MARK TINDALL
                                                            Assistant United States Attorney




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